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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


 PORTLAND GENERAL ELECTRIC                        Case No.: 3:22-cv-00533-SB
 COMPANY, an Oregon corporation,

                                    Plaintiff,

 v.                                               PLAINTIFF’S AMENDED CORPORATE
                                                  DISCLOSURE STATEMENT
 STATE OF OREGON, by and through
 THE OREGON DEPARTMENT OF STATE
 LANDS, and +/- FIVE ACRES OF
 UNIMPROVED LAND ALONG THE
 WILLAMETTE RIVER NEAR WEST
 LINN, OREGON,

                                   Defendant.


         Under Fed. R. Civ. P. 7.1 and LR 7.1, Plaintiff respectfully submits this Amended

Corporate Disclosure Statement. Vanguard Group Inc. is the only publicly held company that

owns 10% or more of PGE’s stock.

Dated: May 24, 2022.
                                                     s/ Stephen T. Janik
                                                     Stephen T. Janik, OSB 741538
                                                     Jack L. Orchard, OSB 721888
                                                     Attorneys for Plaintiff
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